                Case 1:21-cr-00041-JL Document 74 Filed 05/28/21 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW HAMPSHIRE
UNITED STATES OF AMERICA                           )
                                                   )
  v.                                               )                  No. 1:21-cr-00041-JL
IAN FREEMAN, ET AL                                 )


                          GOVERNMENT’S PROPOSED EXHIBIT LIST

         The United States of America, by John J. Farley, Acting United States Attorney for the

District of New Hampshire, through his assistants, John J. Kennedy, Georgianna L. MacDonald

and Seth R. Aframe, hereby submits the Government’s proposed exhibits relating to the hearing

in the above-referenced scheduled for Wednesday, May 28, 2021:

         (id)
           x       Government’s Exhibit No. 1 – Audio Clip Needs to Die

         (id)
          x        Government’s Exhibit No. 2 – Audio Clip Panic Button

         (id)
          x        Government’s Exhibit No. 3 – Audio Clip Start Shooting Pigs

         (id)
          x        Government’s Exhibit No. 4 – Audio Clip Kill Himself if Sentenced

         (id)
          x        Government’s Exhibit No. 5 – Audio Clip Time for Boogaloo

         (id)
          x        Government’s Exhibit No. 6 – Full Audio of Jail Call

         The government reserves the right to seek leave to amend its exhibit list as necessary.

Dated:             May 27, 2021                               Respectfully submitted,
                                                              JOHN J. FARLEY
                                                              Acting United States Attorney

                                                              /s/John J. Kennedy
                                                       By:    John J. Kennedy
                                                              Assistant U.S. Attorney
                                                              53 Pleasant Street, 4th Floor
                                                              Concord, N.H. 03301
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